Case 9:12-cr-00015-RC-KFG               Document 165            Filed 08/27/15         Page 1 of 5 PageID #:
                                                532




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION

UNITED STATES OF AMERICA                                §
                                                        §
v.                                                      §    CASE NO. 9:12-CR-15(4)
                                                        §
                                                        §
CIPRIANO AYALA-SANCHEZ                                  §

           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On August 26, 2015, this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Cipriano Ayala-Sanchez, on Count One of the charging

Information1 filed in this cause.

       Count One of the Information charges that on or about between August 2005 and May

24, 2011, in the Eastern District of Texas and elsewhere, Cipriano Ayala-Sanchez, defendant,

       1
        Defendant signed a Waiver of Indictment which was filed in the record at the guilty plea hearing.

                                                      -1-
Case 9:12-cr-00015-RC-KFG          Document 165         Filed 08/27/15     Page 2 of 5 PageID #:
                                           533



having knowledge of the actual commission of a felony cognizable by a court of the United

States, to wit: Conspiracy to Commit Money Laundering, did conceal the same by facilitating

the purchase and sale of residences in the Eastern District of Texas and elsewhere, and did not as

soon as possible make known the same to some judge or other person in civil or military

authority under the United States, in violation of 18 U.S.C. § 4.

       Defendant, Cipriano Ayala-Sanchez, entered a plea of guilty to Count One of the

Information into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement and plea

agreement addendum which were disclosed and addressed in open court, entered into the record,

and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).



                                               -2-
Case 9:12-cr-00015-RC-KFG            Document 165         Filed 08/27/15        Page 3 of 5 PageID #:
                                             534



        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 18 U.S.C. § 4.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Count One of the

Information. The Government would also prove that the defendant is one and the same person

charged in the Information and that the events described in the Information occurred in the

Eastern District of Texas and elsewhere. The Court incorporates the proffer of evidence described

in detail in the factual basis and stipulation in support of the guilty plea.

        Defendant, Cipriano Ayala-Sanchez, agreed with and stipulated to the evidence presented

in the factual basis.     Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty

plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned



                                                  -3-
Case 9:12-cr-00015-RC-KFG          Document 165       Filed 08/27/15      Page 4 of 5 PageID #:
                                           535



determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Information on file in this

criminal proceeding.    The Court also recommends that the District Court accept the plea

agreement and plea agreement addendum pursuant to Federal Rule of Criminal Procedure 11(c).

Accordingly, it is further recommended that, Defendant, Cipriano Ayala-Sanchez, be finally

adjudged as guilty of the charged offense under Title 18, United States Code, Section 4.

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and addendum, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in nature.

The District Court may defer its decision to accept or reject the plea agreement and addendum

until there has been an opportunity to consider the presentence report. See FED. R. CRIM. P.

11(c)(3). If the Court rejects the plea agreement and addendum, the Court will advise Defendant

in open court that it is not bound by the plea agreement and Defendant may have the opportunity

to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to Defendant than that contemplated by the plea

agreement. Defendant has the right to allocute before the District Court before imposition of

sentence.




                                              -4-
Case 9:12-cr-00015-RC-KFG          Document 165        Filed 08/27/15      Page 5 of 5 PageID #:
                                           536



                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings
  .
and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

and the courts require that, when a party takes advantage of his right to object to a magistrate’s

findings or recommendation, a district judge must exercise its nondelegable authority by

considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                    SIGNED this the 27th day of August, 2015.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE




                                               -5-
